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8                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
9                            SOUTHERN DIVISION
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                                             )
11   Zyrcuits IP LLC,                        )   Case No. 8:20-cv-01877-AB-AGR
12                                           )
                  Plaintiff,                 )   [PROPOSED] ORDER ON
13                                           )   PLAINTIFF’S NOTICE OF
     v.                                      )   VOLUNTARY DISMISSAL WITH
14                                               PREJUDICE
                                             )
15   Somfy Systems, Inc.,                    )
16                                           )
                 Defendant.                  )
17
18
19         This matter is before the Court on Plaintiff Zyrcuits IP LLC’s Notice of
20   Voluntary Dismissal with prejudice. Defendant has not yet answered the
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     Complaint or moved for Summary Judgment. Being so advised, the Court hereby
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23   finds that the request should be GRANTED. It is, therefore,
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           //
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 2         ORDERED that this matter be dismissed with prejudice. Each party shall

 3   bear its own costs, expenses, and attorneys’ fees.
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           SO ORDERED January 11, 2021
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 9                                         UNITED STATES DISTRICT COURT
                                           Judge Andre Birotte Jr.
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